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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ESMARK EUROPE, BV, BOUCHARD
 GROUP, LLC and BOUCHARD GROUP
 EUROPE, LLC,                                       CIVIL ACTION No. 2:15-cv-00303
        Plaintiffs,

        v.

 PETER KAMARÁS,

        Defendant.


                                  NOTICE OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs Esmark

Europe, BV, Bouchard Group, LLP and Bouchard Group Europe, LLC, hereby dismiss, without

prejudice, all claims against Defendant in the above-captioned action.



April 6, 2017                                       Respectfully Submitted,

                                                    /s/ Gerald J. Stubenhofer, Jr.
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